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           From: Vanessa Motta <vanessa@mottalaw.com>
              To:             <       @kinginjuryfirm.com>
         Subject: Re: Draft to the 5th
            Date: Thu, 04 May 2023 20:34:06 +0000
    Attachments: 5.3.23-_1st_draft_Collins_-_En_Banc_Brief_to_5th_Circuit.docx; unnamed_document.pdf


      ,

 I am so sorry to bother you as I know you are a busy man. I keep moving things around on this brief and I am
stuck. There are so many issues with the order and reasons but I know that the chances of rehearing is 1% for
civil.

Please disregard the cases and the style as I will fix that at the end, and please know this is a first draft. :)

 If you have time, do you mind looking at this draft and the ruling and see if I am in a good path or if I need to
restructure or change all of it??

I still have not worked on the regulate petition for rehearing I was focusing on this first.

I would appreciate it. And if you cant, I totally understand. Both Petitions are due Wednesday. :(

Vanessa Motta

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